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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                                CIVIL ACTION FILE NO.
v.
                                                 1:18-CV-5391-SCJ
BRAD RAFFENSPERGER, et al.,

     Defendants.

                                           ORDER

        This matter appears before the Court on Defendants’ Motion for Summary

on Jurisdiction. Doc. No. [441].

I.      BACKGROUND1

        Plaintiffs Fair Fight Action, Inc. (“Fair Fight”), Care in Action, Inc. (“Care

in Action”), Ebenezer Baptist Church of Atlanta, Georgia, Inc. (“Ebenezer”),

Baconton Missionary Baptist Church, Inc. (“BMBC”), Virginia-Highland Church,

Inc. (“Virginia-Highland”), and The Sixth Episcopal District, Inc. (the “Sixth

District”) (collectively, “Plaintiffs”) first filed this lawsuit on November 27, 2018.



1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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Doc. No. [1]. Since then, Plaintiffs have twice amended their Complaint (Doc.

Nos. [41]; [582]), and the Court dismissed several of Plaintiffs’ original claims.

Doc. No. [68]. Plaintiffs’ Second Amended Complaint for Declaratory and

Injunctive Relief brings certain claims against Defendants Brad Raffensperger (in

his official capacity as Secretary of State of the State of Georgia and as Chair of

the State Election Board of Georgia), Members of the State Election Board in their

official capacities (Rebecca N. Sullivan, David J. Worley, Matthew Mashburn, and

Anh Le), and the State Election Board (collectively, the “Defendants”). Doc.

No. [582].

      In their Second Amended Complaint, Plaintiffs allege that in the 2018

General Election, Defendants “enforced unconstitutional and otherwise unlawful

legislation, created and enforced unconstitutional and otherwise unlawful

policies, and engaged in gross mismanagement that resulted in an election that

deprived Georgia citizens, and particularly citizens of color, of their fundamental

right to vote.” Id. ¶ 2. Plaintiffs assert that Defendants’ actions violated the First,




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Fourteenth, and Fifteenth Amendments to the United States Constitution, as well

as Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301. Id. ¶ 3.2

       On June 10, 2020, upon Defendants’ request, the Court informed the Parties

that they would be allowed to file two separate summary judgment motions for

purposes of addressing jurisdictional and substantive issues. Doc. No. [379]. On

June 29, 2020, Defendants filed their Motion for Summary Judgment on

Jurisdiction (Doc. No. [441]), arguing that Plaintiffs lack organizational and

associational standing, are unable to show that their alleged harms are traceable

to or redressable by Defendants, and assert other claims that are moot, barred, or

otherwise foreclosed by law (see Doc. No. [441-1], pp. 1–2). Plaintiffs have




2   Specifically, Plaintiffs’ five causes of action are as follows: (1) violation of the
fundamental right to vote (First and Fourteenth Amendments to the United States
Constitution, as enforced by 42 U.S.C. § 1983) (Count I); (2) violation of the ban on racial
discrimination in voting (Fifteenth Amendment to the United States Constitution, as
enforced by 42 U.S.C. § 1983) (Count II); (3) violation of Equal Protection (Fourteenth
Amendment to the United States Constitution, as enforced by 42 U.S.C. § 1983) (Count
III); (4) violation of Procedural Due Process (Fourteenth Amendment to the United
States Constitution, as enforced by 42 U.S.C. § 1983) (Count IV); (5) violation of Section 2
of the Voting Rights Act of 1965 (Count V). Doc. No. [582], ¶¶ 150–222. Despite the
recent amendment of the Complaint, the Court is of the opinion that its prior Eleventh
Amendment immunity ruling as to the State Election Board (as a state agency) controls.
Doc. No. [68], pp. 43–52, 85. Accordingly, only Count V (which pertains to Section 2 of
the Voting Rights Act of 1965) remains pending against the State Election Board. The
immunity ruling does not apply to the official capacity causes of actions asserted against
the individual members of the State Election Board.
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responded in opposition (Doc. No. [489]), and Defendants replied (Doc. No.

[533]).3 The Court held a hearing on the pending motion on January 12, 2021. Doc.

No. [602]. After consideration of the arguments and the Parties’ presentations of

material facts,4 this matter is now ripe for review.

II.      LEGAL STANDARD5

         Federal Rule of Civil Procedure 56(a) provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.”




3   Additional supplemental filings are at Doc. Nos. [546], [553], [564], [566], [594].
4 Plaintiffs and Defendants have both filed various iterations and updates of statements
of material facts, as well as responses and objections thereto. See, e.g., Doc. Nos. [451];
[458]; [491]; [492], [506]; [532]; [534]; [550]; [604]; [610]. In this Order, the Court draws
primarily from the uncontested material facts in Defendants’ (Doc. No. [451]) and
Plaintiffs’ (Doc. No. [604]) latest statements of material facts. The Court recognizes that
Defendants have filed a global objection to Plaintiffs’ Corrected Statement of Additional
Material Facts (Doc. Nos. [534], [610]). The Court has deemed it proper to resolve the
jurisdictional aspects of the case first. The Court will resolve the global objection prior
to a ruling on the merits aspect of the case. To the extent that any party has filed specific
objections to the facts cited in this Order, the Court has overruled said objection by the
inclusion of said fact in this Order (or otherwise specified the purpose for which the
Court considered the fact).
5 The standard below pertains only to summary judgment. Additional legal standards
pertaining to specific standing doctrines will be discussed further below in the analysis
section.
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      A fact is “material” if it is “a legal element of the claim under the applicable

substantive law which might affect the outcome of the case.” Allen v. Tyson

Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997). A factual dispute is genuine if the

evidence would allow a reasonable jury to find for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      The moving party bears the initial burden of showing the court, by

reference to materials in the record, that there is no genuine dispute as to any

material fact that should be decided at trial. Hickson Corp. v. N. Crossarm Co.,

357 F.3d 1256, 1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986)). The moving party’s burden is discharged merely by “showing—that

is, pointing out to the district court—that there is an absence of evidence to

support [an essential element of] the nonmoving party’s case.” Celotex Corp., 477

U.S. at 325 (internal quotations omitted).

      In determining whether the movant has met this burden, the district court

must view the evidence and all factual inferences in the light most favorable to

the nonmoving party. Johnson v. Clifton, 74 F.3d 1087, 1090 (11th Cir. 1996). “In

doing so, the district court may not weigh the evidence or find facts. Nor may the

court make credibility determinations of its own.” Ga. State Conf. of NAACP v.


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Fayette Cty. Bd. of Comm’rs, 775 F.3d 1336, 1343 (11th Cir. 2015) (internal

quotations and citations omitted). Further, “mere conclusions and unsupported

factual allegations are legally insufficient to defeat a summary judgment motion.”

Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005) (per curiam) (citation

omitted); Jefferson v. Sewon Am., Inc., 891 F.3d 911, 924–25 (11th Cir. 2018)

(holding that “conclusory allegations without specific supporting facts have no

probative value”).

      Once the movant has adequately supported its motion, the nonmoving

party then has the burden of showing that summary judgment is improper by

coming forward with specific facts showing a genuine dispute. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Celotex Corp., 477 U.S.

at 324 (requiring the nonmoving party to “go beyond the pleadings” to establish

that there is a “genuine issue for trial”). All reasonable doubts should be resolved

in the favor of the nonmovant. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115

(11th Cir. 1993). When the record as a whole could not lead a rational trier of fact

to find for the nonmoving party, there is no “genuine [dispute] for trial.” Id.

(citations omitted).




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III.   ANALYSIS

       The Court’s analysis is divided into three parts: standing, mootness, and

political question doctrine.

       A.    Standing

       “Standing ‘is the threshold question in every federal case, determining the

power of the court to entertain the suit.’” CAMP Legal Def. Fund, Inc. v. City of

Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (quoting Warth v. Seldin, 422 U.S.

490, 499 (1975)). Article III of the United States Constitution limits the courts to

hearing actual “Cases” and “Controversies.” U.S. Const. Art. III § 2; see also

Lujan v. Defs. of Wildlife, 504 U.S. 555, 559–60 (1992). Overall, the standing

requirement arising out of Article III seeks to uphold separation-of-powers

principles and “to prevent the judicial process from being used to usurp the

powers of the political branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

408 (2013). Standing is typically determined by analyzing the plaintiff’s situation

as of the time the complaint is filed, and subsequent events do not alter standing.

Focus on the Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1275 (11th

Cir. 2003) (collecting authorities); Johnson v. Bd. of Regents of Univ. of Ga., 263




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11 F.3d 1234, 1267 (11th Cir. 2001); Charles H. Wesley Educ. Found., Inc. v. Cox,

408 F.3d 1349, 1352 n.3 (11th Cir. 2005).

      To establish standing, a plaintiff must show three things:

             First, the plaintiff must have suffered an “injury in
             fact”—an invasion of a legally protected interest which
             is (a) concrete and particularized, and (b) actual or
             imminent, not conjectural or hypothetical. Second,
             there must be a causal connection between the injury
             and the conduct complained of—the injury has to be
             fairly traceable to the challenged action of the defendant,
             and not the result of the independent action of some
             third party not before the court. Third, it must be likely,
             as opposed to merely speculative, that the injury will be
             redressed by a favorable decision.

Lujan, 504 U.S. at 560–61 (internal quotations, citations, and alterations omitted).

“The party invoking federal jurisdiction bears the burden of establishing

standing—and, at the summary judgment stage, such a party can no longer rest

on . . . mere allegations, but must set forth by affidavit or other evidence specific

facts.” Clapper, 568 U.S. at 411–12 (internal quotations and citations omitted); see

also Church of Scientology Flag Serv. Org., Inc. v. City of Clearwater, 777 F.2d

598, 607 n.24 (11th Cir. 1985) (noting that standing “is a legal determination based

on the facts established by the record”).




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       The Court will now consider the three requisites that the organizational

plaintiffs must establish: injury in fact, causal connection, and redressability.

             1.     Injury in Fact

       An organization may have standing under a “diversion-of-resources”

theory when it must divert financial resources or its personnel’s time to

counteract a defendant’s unlawful acts, thereby impairing the organization’s

ability to engage in its typical projects. Havens Realty Corp. v. Coleman, 455 U.S.

363, 379 (1982); Common Cause/Ga. v. Billups, 554 F.3d 1340, 1350 (11th Cir.

2009) (finding that an organization had standing because it “would divert

resources from its regular activities to educate and assist voters in complying

with” a challenged statute); Common Cause Ind. v. Lawson, 937 F.3d 944, 952–53

(7th Cir. 2019) (listing cases finding organizational standing for voter-advocacy

groups that diverted resources to counteract unlawful election activity). 6 The




6 An organization that diverts its resources voluntarily can still have standing if the
“drain on [the] organization’s resources arises from the organization’s need to
counteract the defendants’ assertedly illegal practices [because] that drain is simply
another manifestation of the injury to the organization’s noneconomic goals.” Fla. State
Conf. of NAACP v. Browning, 522 F.3d 1153, 1166 (11th Cir. 2008) (internal quotations
and citation omitted).
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diversion of resources constitutes an Article III injury in fact. See Fla. State Conf.

of NAACP v. Browning, 522 F.3d 1153, 1165 n.14 (11th Cir. 2008).

      In the Eleventh Circuit, a litigant can establish organizational standing to

challenge election laws by showing it has or anticipates having to divert time,

personnel, or other resources from its usual projects to assist voters whose ability

to vote is affected by state action. See Arcia v. Fla. Sec’y of State, 772 F.3d 1335,

1341 (11th Cir. 2014); Browning, 522 F.3d at 1165–66 (finding organizational

standing when a plaintiff diverted resources from election-day education and

monitoring to educating volunteers and voters on compliance with a new

election law). Even when an organization diverts its resources to achieve its

typical goal in a different or amplified manner, the organization may still gain

standing. See Browning, 522 F.3d at 1166 (finding organizational standing when

a plaintiff anticipated that it would “expend many more hours than it otherwise

would have” on specific election-related activity). To create a concrete injury, the

diversion must cause a perceptible impairment of organizational activities.

Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1249 (11th Cir. 2020). And to show

the concrete injury, the organization must identify the specific activities from

which it diverted or is diverting resources. Id. at 1250.


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        Plaintiffs assert that they have established organizational standing under

a diversion-of-resources theory. Doc. No. [489], pp. 6–19. 7 Each Plaintiff is an

organization involved in civic engagement and that undertakes work in voting

rights. See Doc. No. [582], ¶¶ 10–35. In their Motion for Summary Judgment on

Jurisdiction, Defendants argue that Plaintiffs have failed to establish

organizational standing because “they (1) are not diverting resources, (2) are

serving their organizational mission, [and] (3) cannot identify what activities they

diverted resources from.” Doc. No. [441-1], p. 1. They argue that several Plaintiffs

are unable to identify from what activity or fund they divert resources because

they were unable to “quantify” the diversion. E.g., id. at 9, 15 (stating that certain

Plaintiffs were unable to quantify exactly how much personnel time was diverted

or how diverting personnel time impacted their other activities). In sum,

Defendants argue that Plaintiffs failed to summon “trial-worthy evidence




7 Although Plaintiffs argued during the hearing that “associational standing has been
part of this case all along” (Doc. No. [607], p. 50), Plaintiffs assert it for the first time in
their response to Defendants’ Motion for Summary Judgment on Jurisdiction. Doc. No.
[489], pp. 19–20. Defendants argue that Plaintiffs’ delay in bringing this argument
results in a waiver of their right to assert it. Doc. No. [533], pp. 9–10. Because the Court
finds that Plaintiffs have established organizational standing, the Court will forgo
analysis as to associational standing.
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showing” that they diverted resources in a manner that would confer standing.

Id. at 6.

        Plaintiffs counter that they do not need to quantify their diversions of

resources to show that they have in fact diverted resources and thereby suffered

a concrete injury. Doc. No. [489], p. 8.8 Plaintiffs also argue that they do not have

to undertake new activities that conflict with their organizational missions. Id.

Instead, Plaintiffs contend that they need only show—and have shown—that

they had or will have to divert resources because Defendants’ unlawful conduct

would hinder Plaintiffs’ abilities to carry out their missions. Id.

        As an initial matter, the Court agrees with Plaintiffs that they do not need

to quantify their diversions of resources to show that such diversions occurred.

Plaintiffs must make only a minimal showing of a concrete injury to meet the

modest diversion-of-resources requirement. While quantifying the diversion of

resources certainly would help the Court identify a concrete injury, it is but one




8 For support, Plaintiffs cite People for the Ethical Treatment of Animals, Inc. v. Miami
Seaquarium, 189 F. Supp. 3d 1327, 1340 (S.D. Fla. 2016), aff’d 879 F.3d 1142 (11th Cir.
2018), which states that “[t]he showing of an actual, concrete injury is a modest
requirement for Article III standing, which does not require quantification.”


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way to show the injury. Testimony identifying the diversion—even if that

testimony does not quantify the diversion—suffices.

        Furthermore, the Court agrees that Plaintiffs do not have to undertake new

missions that conflict with their existing missions to show a diversion of

resources. As the law currently stands, Plaintiffs simply need to show that

Defendants’ actions caused Plaintiffs to divert resources, even if that manifests

as a diversion from one activity geared towards achieving the organization’s

mission to a different activity geared towards that mission. 9 Similarly, while

Defendants are correct that mere interest in an issue is not sufficiently concrete

to support standing (see Doc. No. [533], p. 2), the law currently confers standing

to an organization that diverts its resources to counteract a defendant’s unlawful




9  To be clear, the question is not necessarily whether the litigant is unable to continue
pursuing its core mission but instead whether it suffered a perceptible impairment in
its pursuit of that mission by having to divert resources to counteract the defendant’s
acts. The litigant may both continue to pursue its core mission and gain organizational
standing if it has been forced to divert resources from one means of achieving the
mission to another means of doing so. In other words, for organizations with broad
missions such as “voting rights,” the analysis may often turn on whether the
organization had to divert resources in a way that forced it to alter how it achieved its
mission, not whether it was pursuing its usual or a new mission. Otherwise,
organizations with broad missions would never have standing to challenge laws that
affect their area of work. Of course, a diversion of resources from an unrelated activity
or mission may also suffice.
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acts. The fact that the organization has a preexisting interest in the subject at issue

does not change the diversion-of-resources analysis, and under current

jurisprudence an organization can show more than mere interest if it shows that

it suffered an injury by diverting resources.10

         The Court now analyzes organizational standing as to each Plaintiff.

                     i.    Fair Fight Action, Inc.

         Fair Fight is a 501(c)(4) nonprofit organization whose “core mission is to

secure the voting rights of Georgians.” Doc. No. [582], ¶ 10. Fair Fight alleges that

its past voter-related efforts have included conducting a vote-by-mail program,

educating voters about upcoming elections, and engaging in a “get-out-the-vote”

program. Id. ¶ 11. Plaintiffs assert that these efforts were focused solely on

educating and encouraging voters about elections and voter registration, but they

were not focused on “educating voters about how to overcome the voter




10 During summary judgment oral argument, Defendants also noted perceived tension
in the organizational standing jurisprudence, questioning why an organization could
have standing to sue a state in an election case when individuals have had their election
lawsuits dismissed due to lack of a particularized injury. See Doc. No. [607], pp. 14–18.
The cases cited by Defendants are factually distinguishable. Regardless, the law
currently gives standing to organizations that divert resources to counteract a
defendant’s unlawful acts. Without further guidance from the Eleventh Circuit,
standing jurisprudence for individuals does not change the Court’s analysis here.
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suppression” about which Plaintiffs complain. Id. ¶ 12. Fair Fight intends to

continue its past work but must implement new programs and engage in new

efforts to counteract Defendants’ acts. See id. Fair Fight alleges that these new

activities will require it “to expend additional resources diverted from its other

programs,” and that this “diversion of resources is necessitated by and directly

traceable to Defendants’ misconduct.” Id. ¶ 13.

      Defendants contend that Fair Fight did not divert resources but instead

merely “continued its organizational mission of making voting more accessible”

and fighting voter suppression, even if Fair Fight claimed during this litigation

that its mission is only “to do voter engagement work.” See Doc. No. [441-1],

pp. 16–18. Thus, Defendants argue, Fair Fight “can show only a frustration of its

objectives” that is insufficient to confer organizational standing. Id. at 18. Also,

Defendants argue that Fair Fight was unable to quantify its diversions of funds.

Id. And to the extent staff would not be working to counteract Defendants’ acts,

they would be working on matters for a separate organization, so there is no

diversion of personnel time that impairs Fair Fight’s activities. Id. at 20. In sum,

Defendants argue that Fair Fight was formed specifically to litigate this matter,

and as a result it cannot show a diversion of resources. See id. at 19–20.


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      Plaintiffs respond that Fair Fight has shown that it diverted resources from

its typical voter engagement activities to voter protection activities. Doc. No.

[489], p. 16. They argue that Fair Fight has provided evidence that its work to

counteract Defendants’ acts has “come[] at a cost” to its core work and limited

Fair Fight’s typical efforts in voter education and engagement. Id. at 16–18. And

while Fair Fight was formed to undertake election work, it has still shown a

“diversion of resources because it has responded to Defendants’ acts by

undertaking voter suppression work, which has impaired its voter education and

engagement work.” Id.

      The Court finds that Fair Fight has provided sufficient evidence to show a

diversion of resources. Fair Fight has shown through deposition testimony that

Defendants’ actions perceptibly impaired its ability to carry out its usual voter

education efforts. See Doc. No. [604-2], ¶¶ 113, 137. Fair Fight has also sufficiently

shown that it has diverted and anticipates needing to divert resources from its

general voter education efforts to address alleged voter suppression. See id.

¶¶ 99, 101–102, 106–112. Further, Fair Fight has provided specific examples of

activities from which it was diverting personnel time and other resources. See,




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e.g., id. ¶¶ 132–134, 136–137, 139–141. 11 Even though Fair Fight was able to

maintain its core mission (see Doc. No. [604-2], ¶ 96), it still has shown that it

diverted personnel time and other resources from its typical activities to

counteract Defendants’ acts. Because Fair Fight could have allocated those

resources to their typical activities, the diversion necessarily results in a

perceptible impairment of their ability to pursue their typical activities. 12

Therefore, Fair Fight has shown a diversion of resources sufficient to show an

injury in fact.

                     ii.    Care in Action, Inc.

         Care in Action is a 501(c)(4) organization that undertakes work to support

domestic workers, which includes engaging in voter encouragement and




11  Fair Fight also shows that it diverted personnel time by having phone-banking
volunteers ask Georgia residents about voter registration status, in addition to engaging
in their typical voter education talking points. Doc. No. [604-2], ¶¶ 113, 120. Even in
situations like these where an organization adds to its usual activities instead of fully
replacing them, a diversion of resources can still result. For example, Fair Fight may not
have replaced its usual phone-banking talking points by including questions concerning
voter registration, but the additional time spent covering the latter logically reduces the
breadth of Fair Fight’s potential outreach, thereby creating a perceptible impairment of
Fair Fight’s ability to carry out its usual tasks.
12 After all, the diversion-of-resources standard does not require the diversion to
preclude the organization from undertaking its typical activities—the diversion need
only perceptibly impair the organization’s ability to do so.
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education. Doc. No. [582], ¶¶ 14–15. Care in Action alleges that Defendants’

actions have thwarted its “mission by burdening domestic workers’ right to vote.”

Id. ¶ 16. It also alleges that it “dedicated significant resources to counteracting”

Defendants’ acts. Id. ¶ 17. For example, Care in Action states that it undertook

efforts to contact voters who cast provisional ballots and reallocated personnel to

help with voting rights issues in Georgia. Id. Moreover, Care in Action alleges

that Defendants’ actions have caused it to “shift[] its budget priorities and add[]

more staff to address voting rights,” and that Care in Action will continue to

divert resources from its traditional programs to counteract Defendants’ alleged

acts. See id. ¶¶ 18–20.

      While Care in Action claims that it diverted both financial resources and

personnel time, Defendants argue that counting provisional ballots falls squarely

within Care in Action’s stated mission of encouraging domestic workers to vote,

is not “contrary to its mission,” and is not in response to Defendants’ alleged acts.

Doc. No. [441-1], pp. 12–13. To the extent Care in Action identified expenditures,

Defendants argue it was unable to specify how those expenses “were unique to

its post-election counting of provisional ballots” or otherwise was different from

its usual election-related activities. See id. at 13–14. Defendants also contend that


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Care in Action failed to identify from what activities it allegedly diverted funds

and in fact expended resources only in furtherance of its stated mission. See id.

at 14–15. Similarly, Defendants argue that Care in Action has failed to show that

it diverted personnel time in response to Defendants’ acts because the

organization had already trained domestic workers in election-related matters,

did not undertake activities that substantially differed from its typical

voting-related work, and did not identify whether its usual activities were

impaired. Id. at 15. And Defendants contend that even when Care in Action was

able to identify a staffer who was diverted from other work to counteract

Defendants’ acts, it was unable to quantify how the diversion of the staff member

impaired its usual activities. Id. In sum, Defendants argue that Care in Action did

not divert resources but instead “merely continued its pre-election campaign

activities.” Id. at 16.

       Plaintiffs respond that Care in Action has shown that it extended its

anticipated election work in Georgia in response to Defendants’ acts, which is

sufficient for diversion-of-resources standing. Doc. No. [489], p. 14. Specifically,

Plaintiffs argue that Care in Action has provided evidence that it diverted

resources from its usual projects to undertake unexpected post-election work in


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response to Defendants’ acts to ensure provisional ballots were counted. Id. at

14–15. For example, Care in Action has shown that a staff member who stayed in

Georgia to assist with post-election efforts was unable to perform tasks in the

staffer’s regular, full-time job in immigration work. Id. at 14. Plaintiffs also argue

that, even though Care in Action need not quantify its diversions, it did so by

describing the usual activity a staffer was not undertaking and providing

documentation of its relevant expenses. Id. at 15. Finally, Plaintiffs reject

Defendants’ argument that Care in Action need have undertaken activities

contrary to its mission to gain organizational standing. Id. at 15–16.

         The Court finds that Care in Action has shown a diversion of resources.

Care in Action has provided deposition testimony that Defendants’ acts caused

it to divert financial resources and personnel time from its usual

work—including planned immigration and lobbying projects—to assist with

post-election work in Georgia that it had not anticipated undertaking. See Doc.

No. [604-2], ¶¶ 56, 58, 61–74, 81–87.13 Care in Action further showed that it has




13 For example, Care in Action stated that one staff member forwent a planned work
trip to Mexico to help open an immigration refugee camp so the staff member could
remain in Georgia to undertake election work. See Doc. No. [604-2], ¶ 83.
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continued to divert resources to counteract Defendants’ acts and expects to

continue doing so. See id. ¶¶ 77–78. The organization has shown an injury in fact.

                   iii.   Ebenezer Baptist Church of Atlanta, Georgia, Inc.

      Ebenezer is a 501(c)(3) organization and church with a 6,000-member

congregation and that “has long-served Atlanta’s African American community

and has been at the forefront of the civil rights movement.” Doc. No. [582], ¶ 21.

Among other work in “global ministry dedicated to individual growth and social

transformation,” Ebenezer has long engaged in voting rights efforts. Id. ¶¶ 21–22.

For example, “Ebenezer regularly sponsors voter registration drives and

activities, partners with community organizations to raise awareness regarding

voting, provides information and education to the community about voting, and

provides community members with rides to voting locations.” Id. ¶ 22. Ebenezer

alleges that Defendants have thwarted its voting-related mission and have forced

it to divert resources from its typical activity to conducting “an extensive vote-

by-mail campaign.” See id. ¶¶ 22–23. Ebenezer had to reallocate church

volunteers, staff, and space to undertake the campaign, and it had to divert its

resources, “including personnel and time,” from its other ministries and activities.




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Id. ¶ 22. The church anticipates having to continue diverting resources from its

other church activities to counteract Defendants’ actions. Id. ¶¶ 22–24.

      Defendants argue that Ebenezer has long undertaken voting rights work,

funding that work through a social-justice budget “that does not specify the type

of voting-related activity within that line item.” Doc. No. [441-1], pp. 10–11.

Defendants contend that Ebenezer cannot support its claim that it diverted

monetary resources because the church had no documentation that it spent

money differently to counteract Defendants’ acts. Id. at 10–11. And in any event,

Defendants argue, Ebenezer’s efforts in 2018 were mere continuations of their

already existing efforts to register, encourage, and educate voters. See id. at 10.

Defendants acknowledge that Ebenezer identified diversions in the form of

reallocating volunteer time and establishing a voter hotline, but Defendants

argue that these activities were in pursuit of Ebenezer’s existing mission to assist

voters and did not impair its regular activities. See id. at 11–12.

      In response, Plaintiffs argue that in 2018 Ebenezer had intended to commit

resources to voting encouragement efforts but was forced to counter Defendants’

alleged suppression tactics instead. Doc. No. [489], p. 9. Plaintiffs provide

evidence that Ebenezer established a phone bank, created materials to counteract


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Defendants’ acts, and refocused its educational efforts and materials. See id. at 9

n.2. Plaintiffs also show that Ebenezer diverted these resources from church

programming, allocation of church space, and election-related activities that

Ebenezer typically undertook. Id. at 9–10. Thus, Plaintiffs argue Ebenezer has

provided evidence that it diverted resources to counteract Defendants’ acts. See

id. at 10.

       The Court finds that Ebenezer has sufficiently shown a diversion of

resources. Ebenezer provided deposition testimony that the church had

undertaken or planned to undertake certain voting rights activities—such as

voter registration, education, and mobilization—but had to divert resources,

volunteers, and staff from those and other church activities to refocus efforts on

voter verification, educating voters about alleged voter suppression in Georgia,

and teaching voters how properly to vote by mail. See Doc. No. [604-2], ¶¶ 6,

8–10, 12, 18–23, 25–27, 34–36, 38–47. These new activities included establishing a

voter verification hotline in which volunteers who normally undertook other

church or voting-related activities assisted callers ensure they were properly

registered to vote. See id. ¶¶ 9–10, 22–23, 25–27. While these new activities

arguably fall within Ebenezer’s broad, preexisting mission to support voting


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rights, they are materially different means of achieving that goal. And even

though Ebenezer did not provide financial documentation, the church has

provided sufficient evidence to show that it diverted resources from its typical

activities in order to pursue these new means. Thus, the Court finds that Ebenezer

has shown that it diverted resources to counteract Defendants’ acts and has

thereby suffered an injury in fact.

                   iv.    Baconton Missionary Baptist Church, Inc.

      BMBC is a “nonprofit religious organization” that “considers voting an

integral part of its community building mission.” Doc. No. [582], ¶ 25. During

past election cycles, BMBC has undertaken voting activities such as voter

engagement, education, and registration drives, as well as weekly prayer

meetings for candidates. Id. BMBC alleges that Defendants’ actions have

frustrated and will continue to frustrate its mission. Id. ¶ 26. Specifically, BMBC

claims that Defendants’ voter “purges” have caused BMBC to divert the “time of

its church volunteers and church resources to assist church and community

members” to determine whether they could vote. Id. BMBC alleges that it will

continue to divert resources from its usual church activities to counteract

Defendants’ actions. Id. ¶¶ 26–27.


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      Defendants argue that BMBC failed to show a diversion of resources. Doc.

No. [441-1], pp. 9–10. They contend that while BMBC alleged that voting issues

are part of the church’s mission and that time spent on voting issues could not be

spent on other parts of the church’s mission, BMBC failed to quantify how much

time spent allegedly counteracting Defendants’ actions was diverted from other

activities or impaired the church’s normal activities. See id. For example, BMBC’s

diversion allegedly includes a pastor’s time discussing Defendants’ actions in

sermons and Bible-study classes and volunteers spending time helping voters

check their voter status instead of engaging in other church activity. Id. at 9. But,

according to Defendants, BMBC could not sufficiently quantify the time or

resources diverted. Id. at 10. And to the extent the pastor estimated his time spent

discussing Defendants’ actions, it was minimal and not different enough from

prior election-related speech to constitute a perceptible impairment of the

church’s activities. Id.

      Plaintiffs   respond    that   although    BMBC      has   long   undertaken

election-related activities, it has shown that it had to divert resources to counter

Defendants’ acts. Doc. No. [489], pp. 11–12. For example, BMBC has shown that




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its pastor and volunteers spent time discussing or facilitating voter verification

when they could have discussed or assisted with other church matters. Id. at 12.

      Through deposition testimony, BMBC showed that while it previously had

engaged in voting-rights activities, its pastor and the church shifted their focus

to ensuring that congregants and their communities were checking their voter

registration status by, among other things, devoting time during worship and

church meetings to discuss the matter, and also printing related materials that

the church otherwise would not have printed. Doc. No. [604-2], ¶¶ 146–156.

BMBC has asserted that this focus diverted from time and other resources

typically spent addressing issues such as feeding the hungry and engaging in

other community outreach. See id. ¶¶ 164–166. BMBC also diverted volunteer

time from these typical activities to assist with voter verification. See id.

¶¶ 157–159. While these diversions of resources arguably are minimal, they are

enough to satisfy the modest requirements for organizational standing.

                   v.    Virginia-Highland Church, Inc.

      Virginia-Highland is a 501(c)(3) organization and Atlanta church that “has

focused on inclusivity and has championed social justice for marginalized

members of society.” Doc. No. [582], ¶ 28. Championing voting rights is central


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to Virginia-Highland’s cause, and the church has encouraged voters by

undertaking voter registration and engagement efforts and assisting with

Election Day transportation. See id. In response to Defendants’ actions, however,

Virginia-Highland will divert its resources from these and other church activities

to voter education efforts that it has not undertaken in the past. Id. ¶¶ 28–30.

      Defendants argue Virginia-Highland has failed to establish organizational

standing because it “claims no financial diversion” and has not actually diverted

volunteer time from its usual activities. See Doc. No. [441-1], pp. 7–8. Because the

church’s mission already “includes voter education and registration,”

Defendants argue, Virginia-Highland cannot have diverted resources from its

usual activities if the church’s alleged response to Defendants’ actions was to

undertake its usual activities. See id. Moreover, Defendants argue that Virginia-

Highland was unable to describe a perceptible impairment to its usual activities

or quantify how much time its volunteers diverted to counteract Defendants’

actions. Id. at 8. As a result, Defendants argue that Virginia-Highland has failed

to establish organizational standing. Id.

      Plaintiffs counter that while Virginia-Highland previously engaged in

election-related activities, Defendants’ acts required the church to reallocate


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more volunteer time to addressing voter suppression. Doc. No. [489], pp. 10–11.

They further argue that even if Virginia-Highland did not “quantify” its

diversion, the church has provided sufficient testimonial evidence to show that

it has diverted personnel time from church and election-related activities to

counteract Defendants’ acts. Id. at 11.

      The Court finds that Virginia-Highland has provided enough evidence to

show a diversion of resources. Virginia-Highland has provided deposition

testimony that while it has worked on voter education and registration since 2014,

the church diverted volunteer and personnel time from those activities to

addressing voter roll irregularities, absentee ballot issues, polling place closures,

and other voting issues that the church believe Defendants caused. See Doc. No.

[604-2], ¶¶ 169, 171–174, 183–188. For example, Virginia-Highland volunteers

have spent more time with voters explaining new issues that voters have had to

navigate, allegedly because of Defendants’ actions. Id. ¶¶ 172–173. These new

points of focus have diverted volunteer time from other church activities and

even from the church’s typical voting rights efforts because they require

volunteers to spend less time addressing their typical voting-rights discussion

points, which effectively reduces the number of voters that volunteers can help.


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Id. ¶¶ 173–174, 183–188. This deposition testimony suffices to show a diversion

of resources from typical activities that Virginia-Highland identified to activities

meant to counteract Defendants’ acts. Thus, Virginia-Highland has shown an

injury in fact.

                    vi.   The Sixth Episcopal District, Inc.

       The Sixth District is a 501(c)(3) entity and group of twelve church districts

representing hundreds of Georgia African Methodist Episcopal churches. Doc.

No. [582], ¶ 31. The Sixth District has long made voting rights part of its social

justice mission by encouraging voter registration at its congregations and

facilitating election day transportation to the polls. Id. ¶ 32. The Sixth District

claims that Defendants’ actions have frustrated its mission. Id. During the 2018

election season, Sixth District leadership traveled to congregations and urged

church elders to encourage congregants to vote and educate themselves on the

2018 election. Id. ¶ 33. The Sixth District also encouraged voters, assisted with

voter registration and verification, and coordinated efforts to transport voters to

the polls. Id. According to the Sixth District, Defendants’ actions forced it to

divert resources from its typical voting-related efforts to educating voters about

overcoming voter suppression and otherwise counteracting the same. See id. ¶ 34.


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The Sixth District states that it will continue this diversion of resources that

otherwise would have gone to its typical “ministries and programs” by

communicating with congregants to ensure that they have voted and that their

ballots have been counted. Id. ¶¶ 34–35.

         Defendants argue that the Sixth District does not have organizational

standing because its 30(b)(6) designee testified that (1) the Sixth District did not

divert financial resources to counteract Defendants’ actions and (2) the Sixth

District diverted personnel time but in a manner that did not differ from its usual

practices. Doc. No. [441-1], p. 6.

         Plaintiffs counter that the Sixth District has shown that it has already

diverted resources and will later have to divert resources to counteract

Defendants’ acts. Doc. No. [489], p. 13. Although the Sixth District’s social justice

mission includes voting-related work, Plaintiffs argue, the Sixth District will have

to divert resources to new election-related activities to remotivate voters and

ensure votes are counted. Id. at 13–14.14




14 Counsel for Plaintiffs also asserted during the summary judgment hearing that the
Sixth District’s 30(b)(6) designee misspoke when he said that the Sixth District had done
nothing different from its usual practices, asserting that the designee fully discussed the
diversion of resources on redirect in the deposition. See Doc. No. [607], pp. 48–50.
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        The Court finds that the Sixth District has shown a diversion of resources.

The Sixth District provided deposition testimony that it will have to divert

resources from its typical voting-related activities to projects to ensure that its

congregants are continuing to vote in the face of voter registration concerns

caused by Defendants’ actions. See Doc. No. [604-2], ¶¶ 195, 197–203, 205. While

the Sixth District’s mission has encompassed voting rights, its new focus on

efforts to ensure that votes are counted has diverted time typically spent on the

Sixth District’s voter registration activities. See id. ¶ 203. That diversion

constitutes a perceptible impairment to the Sixth District’s mission. The Sixth

District has thus shown a diversion of resources sufficient to show an injury in

fact.

              2.    Causal Connection and Redressability

        Next, the Court addresses the second and third requirements for Article III

standing: causal connection and redressability. As stated above, for Plaintiffs to

establish standing “there must be a causal connection between the injury and the

conduct complained of—the injury has to be fairly traceable to the challenged

action of the defendant, and not the result of the independent action of some third

party not before the court. [Also], it must be likely, as opposed to merely


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speculative, that the injury will be redressed by a favorable decision.” Lujan, 504

U.S. at 560–61 (internal quotations, citations, and alterations omitted).

      In this section of the Order, the Court draws guidance from the Eleventh

Circuit’s recent decision in Jacobson v. Florida Secretary of State, 974 F.3d 1236

(2020). In Jacobson, the Eleventh Circuit considered a constitutional challenge to

the order in which the names of candidates appeared on the Florida election

ballot. Id. at 1263. The Eleventh Circuit also concluded that the asserted injury

was not redressable by judgment against the Florida Secretary of State “because

she [did] not enforce the challenged law. Instead, the [county] [s]upervisors. . .

officials independent of the Secretary—[were] responsible for placing candidates

on the ballot in the order the law prescribe[d].” Id. The Court’s conclusion rested

on the reality that the county election supervisors were independent officials

under Florida law who were not subject to the secretary’s control. Id. at 1253.

      In the briefing and oral argument for the case sub judice, Plaintiffs made

several attempts to distinguish Jacobson or otherwise assert its inapplicability.

After review, the Court deems it proper to apply Jacobson to this case and align

with other recent cases that have applied Jacobson to election-related litigation.

See, e.g., Georgia Republican Party, Inc. v. Sec’y of State for Ga., No. 20-14741-


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RR, 2020 WL 7488181, at *1 (11th Cir. Dec. 21, 2020) (applying Jacobson to

conclude that the plaintiffs failed to demonstrate that any alleged injury was

traceable to and redressable by the Georgia Secretary of State where Georgia law

gave authority to conduct the absentee ballot signature-verification process to

local county supervisors); Anderson v. Raffensperger, No. 1:20-CV-03263, 2020

WL 6048048, at *23 (N.D. Ga. Oct. 13, 2020) (“[G]eneral powers [of the Georgia

Secretary of State] are insufficient to establish traceability. . . . The [c]ourt rejects

[p]laintiffs’ contention that the alleged injuries of which they complain are

traceable to the Secretary of State simply because the Georgia Code refers to him

as the ‘state’s chief election official.’ Likewise, the [c]ourt rejects the notion the

alleged injuries are traceable to the State Election Board simply because of its

duty to ensure uniformity in the administration of election laws.”). (citations

omitted).15

         The Court is unable to uphold Plaintiffs’ arguments to the contrary.16



15 The Court recognizes that its prior pre-Jacobson joinder ruling on Defendants’ motion
to dismiss for failure to join the counties as necessary parties is inconsistent with the
above-stated ruling concerning standing. See Doc. No. [68], pp. 53–68). However, for
purposes of the standing analysis, the Court will adhere to the guidance provided in
Jacobson.
16    In addition, Plaintiffs’ “counterexamples”/demonstrative exhibits concerning the

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       With the Jacobson principles in mind, the Court now addresses each of

Plaintiffs’ main claims in turn.

                      i.     Plaintiffs Have Standing to Pursue Claims Related to
                             Georgia’s “Use It or Lose It” Process and Georgia’s
                             Exact Match Policy

       Plaintiffs have standing to pursue their claims related to Georgia’s list

maintenance process (also referred to in this litigation as “Use It Or Lose It,” or

the “no contact provision”) and Exact Match (also referred to as “HAVA Match,”

relating to the federal Help America Vote Act of 2002) because those claims are

directly traceable to and redressable by Defendants. Defendants do not argue that

there is a jurisdictional issue with the claims related to list maintenance and




scope of Defendants’ authority, i.e., a Consent Order entered between the State Election
Board and the Fulton County Board of Registration and Elections and statements made
in briefing before the United States Supreme Court, do not change the Court’s opinion
because under Georgia’s statutory scheme, the State Election Board must eventually
resort to judicial process if the counties fail to perform their election duties. See O.C.G.A.
§ 21-2-33.1(c) (“The Attorney General of this state shall, upon complaint by the State
Election Board, bring an action in the superior court in the name of the State Election
Board for a temporary restraining order or other injunctive relief or for civil penalties
assessed against any violator of any provision of this chapter or any rule or regulation
duly issued by the State Election Board.”). In Jacobson, the Eleventh Circuit concluded
that having to resort to judicial process underscores the secretary’s “lack of authority
over” the county election supervisors and “their actions to implement the ballot statute
may not be imputed to the [s]ecretary for purposes of establishing traceability.”
Jacobson, 974 F.3d at 1253–54.
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matching. See Doc. Nos. [441-1], p. 24; [607], Tr. 25:3–8, 28:10–19. Indeed, this

Court has already addressed claims related to list maintenance in this and other

lawsuits against the Secretary. See Doc. No. [164] (denying Plaintiffs’ TRO related

to list maintenance); Black Voters Matter Fund v. Raffensperger, No. 1:20-CV-

04869-SCJ, 2020 WL 7394457 (N.D. Ga. Dec. 16, 2020) (same). It was never argued

that claims related to list maintenance and matching were not traceable to or

redressable by the Secretary.

      State law explicitly assigns responsibility for the voter verification and

matching processes to the Secretary. See O.C.G.A. § 21-2-50(a)(14) (requiring the

Secretary to “maintain the official list of registered voters for this state and the

list of inactive voters required by this chapter”); O.C.G.A. § 21-2-50.2(a) (“The

Secretary of State, as the chief election official designated under the federal Help

America Vote Act of 2002, shall be responsible for coordinating the obligations of

the state under the federal Help America Vote Act of 2002.”); O.C.G.A. § 21-2-

216(g)(7) (stating the Secretary “shall establish procedures to match an

applicant’s voter registration information to the information contained in the

data base maintained by the Department of Driver Services for the verification of

the accuracy of the information provided on the application for voter registration,


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including whether the applicant has provided satisfactory evidence of United

States citizenship”). These statutes provide a far more direct link than the general

election oversight authority which was insufficient to confer standing in Jacobson.

See 974 F.3d at 1254 (holding the Florida the Secretary of State’s position as “the

chief election officer of the state” with “general supervision and administration

of the election laws” did not make the order in which candidates appear on the

ballot traceable to her). Thus, these claims do not present jurisdictional issues.

                   ii.    Plaintiffs Lack Standing to Pursue Claims Related to
                          the Moving and Closing of Precincts and Polling
                          Places

      In their Second Amended Complaint, Plaintiffs allege that Defendants

“deployed a known strategy of voter suppression” in promoting the closure and

relocation of polling places. Doc. No. [582], pp. 25–26, ¶ 47. Under Georgia law,

the county election superintendent has authority for determining the location of

polling places and the “division, redivision, alteration, formation, or

consolidation of precincts.” See O.C.G.A. §§ 21-2-70(4), -261(a), -262(c), -263,

-265(a). Counties sometimes request the Secretary of State to assist in

consolidating precincts. Doc. No. [604-2], pp. 322–24, ¶¶ 1001–1002. However,

Plaintiffs allege that the Secretary of State did not merely provide help when


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asked but in 2015, he actively encouraged counties to consolidate and relocate

polling places through direct training on the subject. See Doc. Nos. [582],

pp. 47–48 ¶ 101; [604-2], pp. 321–322, ¶¶ 998–999.17

         Defendants contend that their ability to stop counties from closing and

relocating polling places is limited to offering guidance. Doc. No. [604-2], p. 326

¶ 1006. Plaintiffs, however, assert that, through their enforcement powers and

duty to maintain uniformity, Defendants have the ultimate responsibility for the

precinct and polling place changes. See Doc. No. [607], Tr. 40:4–8, 57:4–8, 61:19–21,

62:1–23; see id. at 57:11–24. Defendants’ alleged failure to fulfill this responsibility

is that on which Plaintiffs base, in part, their causes of actions in Counts I, II, III,

and V of their Second Amended Complaint. See Doc. No. [582], pp. 69–86, ¶¶ 156,

168, 182, 206.

         The Court finds that Plaintiffs lack standing to pursue their claims related

to the moving and closing of precincts and polling places because those claims



17
  In 2015, after the Supreme Court’s decision in Shelby Cnty. v. Holder, 570 U.S. 529
(2013) removed the preclearance requirement for polling place changes, the Secretary of
State issued a training document that advised counties to start “consolidating and
changing polling places ‘[n]ow.’” Doc. Nos. [582], pp. 47–48 ¶ 101; [604-2], p. 322, ¶ 1000.
Between the 2014 and 2018 General Elections, “counties changed the polling places of
around 18 percent of voters who remained at the same registered address for all four
years—over 650,000 people.” Doc. No. [604-2], p. 321, ¶¶ 996–997.
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are neither traceable to nor redressable by Defendants. State law explicitly

assigns responsibility for determining and changing precincts and polling places

to the county superintendents. See O.C.G.A. §§ 21-2-70(4), -261(a), -262(c)–(d), -

265(a)–(b), -265(e). It requires that any changes to precincts or polling places

satisfy certain requirements. See id. §§ 21-2-261.1, -263, -265(c)–(d). It also

identifies who is tasked with providing county superintendents the information

they need to make such decisions. See id. §§ 21-2-262(a)–(a.1), -263. Defendants’

authority to prescribe rules and provide guidance to the county superintendents

does not make this issue traceable to Defendants because their power to prescribe

rules and issue directives does not give Defendants the authority to make the

complained-of changes. See Jacobson, 974 F.3d at 1257. “If rulemaking authority

were sufficient to establish traceability, plaintiffs could presumably also

challenge a law by suing the legislators who enacted it instead of the officials who

execute it.” Id.

      For example, Plaintiffs complain that consolidation of precincts—which

the Secretary of State actively promoted—resulted in precincts too small to

accommodate its voters. Doc. No. [582], pp. 25–26, ¶ 47. They allege that counties

based their decisions on whether to change precincts and polling places based off


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of the Secretary of State’s guidance. Id. at 31, 47–48, ¶¶ 60, 101; Doc. No. [604-2],

pp. 321–24, ¶¶ 998, 1000, 1002. But county superintendents are the ones who have

the statutory duty to ensure precincts are large enough to accommodate their

voters. See O.C.G.A. § 21-2-263 (“If at the previous general election a precinct

contained more than 2,000 electors and if all those electors desiring to vote had

not completed voting one hour following the closing of the polls, the

superintendent shall either reduce the size of said precinct so that it shall contain

not more than 2,000 electors . . . or provide additional voting equipment or poll

workers or both before the next general election.” (emphasis added)); O.C.G.A.

§ 21-2-265(c) (“In primaries, the superintendent . . . shall select a polling place

which will provide adequate space for all parties conducting their primaries

therein.” (emphasis added)).

      Plaintiffs argue that where these changes burden individuals’ right to vote

or otherwise violate election law, Defendants are responsible for making counties

comply. Doc. No. [607], Tr. 62:10–23. However, in the absence of any evidence

that Defendants control the moving and closing of precincts and polling places,

Plaintiffs “cannot rely on the Secretary’s general election authority to establish

traceability.” Jacobson, 974 F.3d at 1254.


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        Any   relief   requiring   Defendants     to   mandate     where    county

superintendents place polling places and how they change precincts may force

superintendents to violate their statutory duties. See O.C.G.A. § 21-2-265(b) (“[I]f

a petition is presented to the superintendent . . . on or before the day set for [a]

hearing . . . for change of a polling place, signed by 20 percent of the electors of

the precinct objecting to the proposed change, such change shall not be ordered.”).

Relief against Defendants would not eliminate county superintendents’ ultimate

statutory authority and responsibility regarding precincts and polling places

under Georgia law, for “federal courts have no authority to erase a duly enacted

law from the statute books.” Jacobson, 974 F.3d at 1255 (quoting Jonathan F.

Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 936 (2018)) (internal

quotation marks omitted); see also Steffel v. Thompson, 415 U.S. 452, 469 (1974)

(“Of course, a favorable declaratory judgment . . . cannot make even an

unconstitutional statute disappear.” (internal quotation marks omitted)). And an

injunction ordering Defendants to promulgate rules and regulations that

override or take that statutory authority and responsibility away from the county

superintendents would raise “serious federalism concerns.” Jacobson, 974 F.3d at

1257.


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      To the extent that such relief would be limited to requiring Defendants to

provide or refrain from giving counties specific guidance regarding precinct and

polling place changes, the Eleventh Circuit has rejected such “notice” theory of

redressability. Id. at 1254. “Any persuasive effect a judicial order might have

upon the [county superintendents], as absent nonparties who are not under the

Secretary’s control, cannot suffice to establish redressability.” Id.; see also id. at

1254–55 (“Redressability requires that the court be able to afford relief through the

exercise of its power, not through the persuasive or even awe-inspiring effect of the

opinion explaining the exercise of its power.”).

      “Even if we consider the persuasive effect of the judgment on the nonparty

[superintendents], the [plaintiffs] have not established that redress is likely ‘as a

practical matter.’” Id. at 1255 (quoting Utah v. Evans, 536 U.S. 452, 461 (2002)).

While Defendants may offer guidance and training to counties on how and when

to change precincts and polling places, county superintendents are free to ignore

their advice. Certainly, some may be likely to follow Defendants’ advice when

given, but Plaintiffs have not shown that relief against Defendants will

“significantly increase the likelihood” that the superintendents will “follow a




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federal decree that does not bind them.” Id. (quoting Lewis v. Governor of Ala.,

944 F.3d 1287, 1301 (11th Cir. 2019)).

      For the reasons above, the Court finds that county superintendents—not

Defendants—are statutorily responsible and thus accountable for the closing and

relocation of polling places and precincts. Thus, the effects stemming from those

actions are traceable not to Defendants but to the county superintendents. And

for the same reasons, these claims are not redressable by Defendants. As a result,

the Court finds that Plaintiffs lack standing to pursue their claims related to the

moving and closing of precincts and polling places.

                   iii.   Plaintiffs Have Standing on Their Claim that the
                          Secretary of State Maintains Inaccurate Voter
                          Registration Rolls

      Plaintiffs have standing to pursue their claims related to the maintenance

of inaccurate voter registration rolls because those claims are directly traceable to

and redressable by Defendants.

      State law explicitly assigns responsibility for maintenance of the official list

of registered voters to the Secretary. See O.C.G.A. § 21-2-50(a)(14) (requiring the

Secretary to “maintain the official list of registered voters for this state and the

list of inactive voters required by this chapter”); O.C.G.A. § 21-2-50.2(a)


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(indicating that the Secretary of State shall be responsible for coordinating the

obligations of the state under HAVA); see also 52 U.S.C. § 21083(a)(1), (4) (setting

forth each state’s duties under HAVA; stating that each state “shall implement

. . . a single, uniform, official, centralized, interactive computerized statewide

voter registration list defined, maintained, and administered at the State level

that contains the name and registration information of every legally registered

voter in the State”; and stating that “[t]he State election system shall include

provisions to ensure that voter registration records in the State are accurate and

updated regularly . . . .”). Like the Exact Match and “Use it or Lose It” statutory

schemes, the above-stated statutes provide a direct link to the Secretary and

establish that the Secretary plays a role in maintenance of accurate voter

registration rolls.

      The Court recognizes Defendants’ argument that, in practice, updates to

the voter registration rolls are made at the county (not state) level—and that there

is a Jacobson problem. Doc. No. [607], Tr. 31:14–17; 78:9–12. However, after

review, the Court does not agree that there is a Jacobson problem because, as

indicated above, “the law itself contemplate[s] [a] role for” the Secretary—i.e.,

maintaining accurate registration rolls under HAVA. Jacobson, 974 F.3d at 1254.


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The Secretary maintains and controls the registration rolls and in accordance

with the principles of Jacobson, Plaintiffs can rely on the above-stated express

statutory authority to establish traceability and redressability of their asserted

injuries for the Secretary’s challenged conduct.

      Accordingly, Plaintiffs meet Article III’s traceability and redressability

requirements as to their voter list inaccuracy claim.

                   iv.    Plaintiffs Lack Standing to Pursue Their Claims
                          Related to Resources at Polling Places

      The Court finds that Plaintiffs lack standing to pursue their claims related

to resources at polling places because those claims are not traceable to

Defendants. State law explicitly assigns responsibility for ensuring there is an

adequate number of supplies to the election superintendents. See O.C.G.A. §§ 21-

2-70(4)–(5), -290, -384(a)(1), -400(a); see also Ga. Comp. R. & Regs. 183-1-12-.01,

-.11(c), -.18(3). The law sets the minimum number of resources per elector that

the superintendent must acquire. See O.C.G.A. §§ 21-2-290, -323(b), -367(b). Local

election officials are also tasked with keeping an inventory of election equipment,

number of ballots used, and who and how many voted. See O.C.G.A. §§ 21-2-294,

-390, -411, -419(e), -432, -433(b), -440(a), -453, -456; Ga. Comp. R. & Regs. 183-1-

12-.06(4)–(7). Thus, election superintendents are not without information that

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will help them determine what supplies and how many they need to acquire for

upcoming elections.

      As indicated above, “[t]o satisfy the causation requirement of standing, a

plaintiff’s injury must be ‘fairly traceable to the challenged action of the

defendant, and not the result of the independent action of some third party not

before the court.’” Jacobson, 974 F.3d at 1253 (11th Cir. 2020) (quoting Lujan, 504

U.S. at 560). It is true that the Secretary of State provides certain equipment and

supplies. See O.C.G.A. §§ 21-2-50(a)(5), -300(a)(1), -300(a), -384(b); Ga. Comp. R.

& Regs. 183-1-12-.01. But the county is ultimately responsible for purchasing

them and in what amounts. See O.C.G.A. § 21-2-70(5) (requiring the

superintendent to purchase all supplies and election equipment “except voting

machines”); see also O.C.G.A. §§ 21-2-320, -333, -366, -374(c), -378, -389; Ga. Comp.

R. & Regs. 183-1-12-.01; cf. O.C.G.A. § 21-2-327(f) (“In every primary or election,

the superintendent shall furnish, at the expense of the municipality, all . . . supplies

which are required under this chapter and which are not furnished by the

Secretary of State. . . . In a municipal primary, ballot labels and other materials

necessary for the preparation of the voting machines shall be furnished free of

charge to the municipal superintendent by the political party conducting such


                                         45
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primary.”) (emphasis added). Further, the superintendent must furnish any

other necessary supplies that the state does not provide. See O.C.G.A. §§ 21-2-

327(f), -328(c), -330(c), -375(c), -389. A county may also acquire additional

equipment and supplies if it so desires. See O.C.G.A. § 21-2-300(a)(3).

      Plaintiffs complain that “[d]uring the November and December 2018

elections, polling places faced shortages of paper ballots, causing delays or

preventing voting entirely during periods of machine malfunction.” Doc. No.

[604-2], p. 362 ¶ 1121. However, under Georgia law, “[w]hen the use of voting

machines has been authorized . . ., the use of paper ballots therein shall be

discontinued.” O.C.G.A. § 21-2-323(a). “If . . . the use of voting machines is not

possible or practicable, the superintendent may arrange to have the voting . . .

conducted by paper ballots.” O.C.G.A. § 21-2-334 (emphasis added); accord

O.C.G.A. §§ 21-2-281, -418(h); see also O.C.G.A. § 21-2-379. Thus, the number of

paper ballots, if any, at polling places that used voting machines was within the

discretion of the election superintendent.

      Plaintiffs argue that where these inadequacies burden individuals’ right to

vote or otherwise violate election law, Defendants are responsible for making

counties comply. Doc. No. [607], Tr. 62:10–23. They assert that because


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Defendants recently promulgated rules that require superintendents to have “an

adequate supply of provisional ballots,” shortage of provisional ballots at polling

places is traceable to them. See Doc. No. [604-2], pp. 307–08 ¶¶ 953–956. But again,

“[i]f rulemaking authority were sufficient to establish traceability, plaintiffs could

presumably also challenge a law by suing the legislators who enacted it instead

of the officials who execute it.” Jacobson, 974 F.3d at 1257. Yet Plaintiffs contend

that subsequent shortages of provisional ballots during elections following this

rule change are due to Defendants’ failure to put procedures in place to ensure

counties comply with the directive. See Doc. No. [604-2], pp. 307–08, ¶¶ 953–956.

However, in accordance with Jacobson, Plaintiffs “cannot rely on the Secretary’s

general election authority to establish traceability.” Jacobson, 974 F.3d at 1254.

      Plaintiffs also argue that voting machines that malfunction or lack the

necessary equipment to operate are traceable to the Secretary because he

provides the voting machines to the counties. See Doc. No. [604-2], pp. 346–47,

¶ 1082. But, under Georgia law, once voting equipment is delivered to the

superintendents, local election officials are responsible for their custody,

maintenance, and testing. See O.C.G.A. §§ 21-2-70(5), -327(a)–(c), -331(a), -374(b),

-377(a), -450, -457; Ga. Comp. R. & Regs. 183-1-12-.04(8), -.08, -.14. They are also


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responsible for ensuring, shortly before polls open, that each piece of equipment

is properly programmed and ready for use in its designated precinct. See

O.C.G.A. §§ 21-2-327(a), -328(a), -374(a), -375(a), -401(a), -480(e), -482; Ga. Comp.

R. & Regs. 183-1-12-.07. While the Secretary must evaluate and approve the type

of equipment that may be used while local election officials must evaluate each

item of equipment to ensure it functions properly. Compare O.C.G.A. § 21-2-

300(a)(4) (“[T]he Secretary of State is authorized to conduct pilot programs to test

and evaluate. . . .”) (emphasis added) with O.C.G.A. § 21-2-327(a) (“The

superintendent of each municipality shall . . . examine each machine before it is

sent out to a polling place . . . .”) (emphasis added).

      Further, prior to receiving the equipment from the state, counties must

“provide polling places that are adequate for the operation of such equipment

including, if necessary, the placement within the polling places of a sufficient

number of electrical outlets and telephone lines.” O.C.G.A. § 21-2-300(b)

(emphasis added). They must also “provide or contract for adequate technical

support for the installation, set up, and operation of such voting equipment.”

O.C.G.A. § 21-2-300(c) (emphasis added).




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      In sum, the Court finds that there is no genuine dispute of material fact

that county superintendents—not Defendants—are statutorily responsible and

thus accountable for the inadequate resources at polling places. Because under

the applicable statutory scheme, the superintendents’ duties regarding resources

at polling places are subject to the Secretary’s control only to the extent that the

type of resources must comply with that which the Secretary has approved and

Plaintiffs have not identified a problem with the type, the effects stemming from

the inadequacy of resources are not traceable to Defendants. Thus, their claim is

not redressable by Defendants either. As a result, the Court finds that Plaintiffs

lack standing to pursue their claims related to inadequate resources at polling

places.

                   v.     Plaintiffs Have Standing to Pursue Their Claims
                          Related to Training on Provisional Ballots and
                          Absentee Ballots

      State law requires that the Secretary “conduct training sessions at such

places as the Secretary of State deems appropriate in each year, for the training

of registrars and superintendents of elections.” O.C.G.A. § 21-2-50(a)(11). County

election superintendents and registrars are required to be certified by the

Secretary. Doc. No. [507-1], p. 954, Tr. 175:8–176:5. The Secretary’s office provides


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training materials and requires that each superintendent and registrar take a quiz

based on those materials to become certified. Id. Tr. 31:24–32:3. To facilitate the

“prompt and efficient” distribution of these materials, the Secretary utilizes

“Firefly,” a digital repository for training materials and election information. Doc.

No. [451-30], Tr. 103:9–104:2. Superintendents and registrars must also maintain

their certification by completing a minimum of 12 hours’ training annually. Doc.

No. [451], p. 22, ¶ 77.18

         Plaintiffs’ Second Amended Complaint alleges that Defendants “did not

and do not satisfy” their training obligations, “as demonstrated in the 2018

Election; throughout the State, elections officials misunderstand their duties and

ignore the law.” Doc. No. [582], p. 57, ¶ 126. They argue the Secretary uses

training materials that “do not cover everything [county election superintendents

and registrars] need to know.” Doc. No. [604-2], pp. 110, 313.19 Most specifically,




18The Court will address facts relevant to the substance of the training and its alleged
inadequacy in its summary judgment order on the merits.
19This was included in the Plaintiffs’ Corrected Statement of Additional Material Facts,
but the Court agrees with Defendants’ objection, see Doc. No. 532, p. 180, ¶ 313, and
considers this only as an argument, not a fact.
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the Second Amended Complaint alleges that training on provisional and

absentee ballots is insufficient. Doc. No. [582], pp. 57–68.

      Plaintiffs state that, due to inadequate or inaccurate training, county

elections officials gave incorrect information on how provisional ballots would

be handled; gave incorrect instructions to voters who showed up at the wrong

polling place and failed to offer them a provisional ballot; and applied

inconsistent and incorrect rules when handling provisional ballots. Id. at 58–61,

¶¶ 127–131. Plaintiffs also argue that “Defendants fail to oversee, train, and

advise counties about the proper handling of absentee ballots,” which resulted in

failure to timely mail absentee ballots to voters; improper rejection of some

absentee ballots; failure to timely notify some voters that their absentee ballots

had been rejected, preventing a timely remedy; and refusal to allow some voters

to cancel absentee ballots in-person, which the law explicitly permits. Id. at 61–65,

¶¶ 133–142; O.C.G.A. § 21-2-388.

      The Supreme Court first recognized 42 U.S.C. § 1983 liability for failure to

train in City of Canton v. Harris, 489 U.S. 378 (1989). The Court held that, while

the municipality could not be liable just because “one of its employees happened

to apply [a city] policy in an unconstitutional manner,” an entity can be liable,


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under limited circumstances, if the employee’s misconduct is traceable to

inadequate training by the entity. Id. at 387. 20 Respondeat superior does not

apply. Id. To prevail on a failure-to-train theory, a plaintiff must show the

employee was inadequately trained and that the failure to train caused a

constitutional wrong. Id. To be “inadequate” for purposes of § 1983 liability, the

training must “amount[] to deliberate indifference to the rights of persons with

whom the [employees] come into contact.” Id. at 389. This Order addresses only

whether Plaintiffs’ failure-to-train claims are traceable to and redressable by

Defendants.

         The central matter of disagreement between the Parties is the degree to

which the Secretary is responsible for training local elections officials other than

superintendents and registrars. Defendants concede that they are statutorily

responsible for training of superintendents and registrars. Indeed, at the

summary judgment hearing, Defendants’ counsel agreed that a failure-to-train

claim regarding the training of superintendents and registrars would not present

a jurisdictional issue. Doc. No. [607], Tr. 30:20–31:1. Plaintiffs argue, however,




20Though the City of Canton analysis applied specifically to municipal liability, the
Court finds the same analysis applies where the defendant is a state entity.
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that if the Secretary does not adequately train the superintendents, the

superintendents do not have the knowledge base to be able to train their

personnel, including poll workers. Doc. No. [604-2], p. 110, ¶ 312.21 Thus, they

maintain, issues with training, including lower-level county officials and poll

workers, are still traceable to and redressable by the Secretary.

         The Court agrees that Plaintiffs have standing to pursue their claims

regarding the training of superintendents and registrars given the Secretary’s

direct statutory responsibilities. O.C.G.A. § 21-2-50(a)(11).22 Whether failures by

lower-level county officials and poll workers are attributable to inadequate

training of their supervisors is a question of fact. The Court concludes that

Plaintiffs have shown a genuine issue of material fact on the traceability issue

such that they survive jurisdictional summary judgment.

         In the Rule 30(b)(6) deposition conducted on August 16, 2019, Secretary of

State representative and Elections Director Chris Harvey stated:




21This was included in the Plaintiffs’ Corrected Statement of Additional Material Facts,
but the Court agrees with Defendants’ objection, see Doc. No. 532, p. 180, ¶ 312, and
considers this only as an argument, not a fact.
22The Court will address the substantive sufficiency of those claims in its summary
judgment order on the merits.
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               We make all of the training materials available on
               Firefly. We encourage people to sign up for the training
               webinars. It really is sort of a Train The Trainer scenario
               where we’re giving them the information to them, for
               them to take back and customize for their offices.

Doc. No. [507-1], p. 958, Tr. 179:8–13. Thus, if the superintendents’ training is

insufficient or inaccurate, they lack the knowledge base to be able to train their

personnel, including poll workers. Id. at 760, Tr. 178:4–10 (“Q: If the

superintendents and the registrars aren’t well-trained in election laws and

practices, they don’t really have the knowledge base to be able to train their

people; correct? A: Right . . . . If they’re going to provide the training, they have

to understand it.”). Thus, the Court finds that claims related to superintendent

and registrar training are directly traceable to and redressable by Defendants.

Plaintiffs have shown a genuine issue of material fact as to whether their training

claims related to lower level county officials and poll workers are traceable to

and redressable by Defendants.23 Should they survive, to prevail on these claims,

Plaintiffs’ evidence at trial will need to show that Defendants’ inadequate training




23The Court will address the substance of the failure-to-train claims, including whether
they meet the deliberate indifference standard in its second summary judgment order.
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of superintendents and registrars caused the constitutional deprivations

complained of.24

         B.    Mootness

         Satisfied that Plaintiffs have standing to bring this action (as to most of

their claims), the Court now turns to the question of mootness.

               1.    Legal Standard

         As indicated above, “[u]nder Article III of the Constitution, federal courts

may adjudicate only actual, ongoing cases or controversies.” Lewis v. Cont’l Bank

Corp., 494 U.S. 472, 477 (1990). 25 “[T]he doctrine of mootness derives directly

from the case-or-controversy limitation because ‘an action that is moot cannot be

characterized as an active case or controversy.” De La Teja v. United States, 321

F.3d 1357, 1361–62 (11th Cir. 2003) (citations omitted). “Simply stated, a case is

moot when the issues presented are no longer ‘live’ or the parties lack a legally

cognizable interest in the outcome.” Powell v. McCormack, 395 U.S. 486, 496–97


24 Plaintiffs’ remaining claims regarding election technology will be discussed infra in
the mootness section of this Order.
25  “The Constitution’s case-or-controversy limitation on federal judicial authority,
Art. III, § 2, underpins both [the] standing and . . . mootness jurisprudence, but the two
inquiries differ in respects critical to the proper resolution of this case, so [the Court]
address[es] them separately.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),
Inc., 528 U.S. 167, 180 (2000).
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(1969) (citation omitted). More specifically, “[i]f events that occur subsequent to

the filing of a lawsuit . . . deprive the court of the ability to afford the plaintiff . . .

meaningful relief, then the case becomes moot and must be dismissed.” De La

Teja, 321 F.3d at 1362.

       One “event” that may moot a claim is when the governmental defendant

ceases the behavior on which a claim is based, through the repeal or amendment

of a challenged statute, rule, or policy. Coral Springs St. Sys., Inc. v. City of

Sunrise, 371 F.3d 1320, 1328–29 (11th Cir. 2004). The Supreme Court and the

Eleventh Circuit “have repeatedly indicated that ‘the repeal of a challenged

statute is one of those events that makes it absolutely clear that the allegedly

wrongful behavior . . . could not reasonably be expected to recur.’” Flanigan’s

Enters., Inc. of Ga. v. City of Sandy Springs, 868 F.3d 1248, 1256 (11th Cir. 2017)

(citations omitted). It also appears that the Eleventh Circuit has established an

exception to the general rule that the burden of proving mootness falls on the

party asserting it. Id. “As a result, ‘once the repeal of an ordinance has caused

[the Court’s] jurisdiction to be questioned, [the plaintiff] bears the burden of

presenting affirmative evidence that its challenge is no longer moot.’” Id. “‘The

key inquiry’ is whether the plaintiff has shown a ‘reasonable expectation’—or . . .


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a ‘substantial likelihood’—that the government defendant ‘will reverse course

and reenact’ the repealed rule.” Keohane v. Fla. Dep’t of Corr. Sec’y, 952 F.3d

1257, 1268 (11th Cir. 2020) (citations omitted).

      Three broad factors provide guidance to courts in conducting this inquiry:

(1) whether the government’s change in conduct resulted from substantial

deliberation or is merely an attempt to manipulate jurisdiction; (2) whether the

government’s decision to terminate the challenged conduct was unambiguous;

and (3) whether the government has consistently maintained its commitment to

the new policy or legislative scheme. Flanigan’s Enters., Inc. of Ga., 868 F.3d at

1257. The Eleventh Circuit has also stated:

             When considering a full legislative repeal of a
             challenged law—or an amendment to remove portions
             thereof—these factors should not be viewed as
             exclusive nor should any single factor be viewed as
             dispositive. Rather, the entirety of the relevant
             circumstances should be considered and a mootness
             finding should follow when the totality of those
             circumstances persuades the court that there is no
             reasonable expectation that the government entity will
             reenact the challenged legislation.
Id.




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               2.     Analysis

         With above-stated legal framework in mind, the Court will now address

the mootness categories presented in Defendants’ summary judgment motion:

technology, voter list security/accuracy, and absentee ballots.

                      i.       Technology

         A review of the record shows that Plaintiffs’ initial complaints included

technology claims concerning the direct-recording electronic (“DRE”) voting

machines in use by the State of Georgia in 2018. See Doc. Nos. [1], p. 1; [41], p. 12.

However, as indicated above, with the Court’s leave, post-filing of summary

judgment, Plaintiffs filed a Second Amended Complaint in which they removed

their claims concerning Georgia’s voting technology/machines (Doc. No. [582]),

and at oral argument Plaintiffs’ Counsel confirmed that Plaintiffs “are no longer

pressing a claim around the voting machines.” Doc. No. [607], Tr. 68:13–14.26 As

Plaintiffs’ Second Amended Complaint supersedes the allegations in the prior

complaints,     the    Court     concludes     that   any   issues   regarding     voting




26 The Court recognizes that Plaintiffs’ Counsel expressed an intent to use the voter
machine evidence at trial to support other non-abandoned claims. Doc. No. [607],
Tr. 68:13–18. At this time, the Court makes no ruling as to the trial admissibility of such
evidence.
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technology/machines no longer remain for adjudication in the context of the

pending litigation. See Pintando v. Miami-Dade Hous. Agency, 501 F.3d 1241,

1243 (11th Cir. 2007) (“As a general matter, ‘[a]n amended pleading supersedes

the former pleading; the original pleading is abandoned by the amendment, and

is no longer a part of the pleader’s averments against his adversary.’”) (citations

omitted).

                    ii.   Voter List Security and Accuracy

      In their Second Amended Complaint, Plaintiffs allege that Georgia’s voter

registration database lacks data security and is vulnerable to cyber-breaches or

hacking that could undermine electors’ confidence in the outcome. Doc. No.

[582], ¶¶ 94, 100. Plaintiffs further allege that “[b]y leaving Georgia’s registration

database vulnerable to tampering, Defendants place voters at risk of having their

voter registrations removed or changed.” Id. ¶ 98. In subsequent paragraphs of

their Complaint, Plaintiffs allege that the Secretary of State maintains inaccurate

voter registration rolls. Id. ¶¶ 104–113.

      In their Motion for Summary Judgment, Defendants assert that Plaintiffs’

claims about the voter registration system were mooted upon the General




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Assembly’s adoption of HB 392 and promulgation of the requisite regulation.

Doc. Nos. [441-1], pp. 26–27; see also [607], Tr. 31:24–25.

      HB 392, is codified at O.C.G.A. § 45-13-20(14.1) and provides in relevant

part that the Secretary shall have the duty “[t]o promulgate a regulation that

establishes security protocols for voter registration information maintained and

developed by the Secretary of State . . . .” Doc. No. [492], pp. 25–26. The requisite

regulation was promulgated on August 13, 2019 and is published at Ga. Comp.

R. & Regs. 590-8-3-.01. Doc. No. [492], ¶ 35.

      Defendants further assert that Plaintiffs’ remaining claims concerning

“inaccurate” voter rolls are moot based on the State having joined the Electronic

Registration Information Center (“ERIC”), a non-profit organization with the sole

mission of assisting states to improve the accuracy of America’s voter roll, as

authorized by HB 316. Doc. Nos. [441-1], pp. 27–28; [491], ¶ 113.

      In opposition, Plaintiffs argue that “Defendants have, at most, suggested

they have taken additional measures to protect their voter rolls from external

hacking or intervention and can now share voter registration information with

out-of-state government entities through” ERIC. Doc. No. [489], p. 24. Plaintiffs

assert that “[t]hese measures do nothing to address voter roll inaccuracies caused


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by problems internal to Defendants’ voter registration database, which

persistently cancels voters erroneously, marks eligible voters as ineligible, and

lists voters as registered in incorrect precincts or even incorrect counties.” Id. In

support of their argument, Plaintiffs rely upon paragraphs 723–751 of their

Statement of Additional Facts. Id. (citing Pl. SAMF, Doc. No. [532], ¶¶ 723-751).

      In their reply, Defendants raise a number of objections to Plaintiffs’

additional facts. See generally Doc. No. [532]. However, Defendants do admit

that two key facts may be considered for purposes of summary judgment: (1) the

Secretary received complaints in the 2018 election about people trying to vote

and being told that they were not registered and (2) the Secretary received

complaints about people trying to vote and being told that the voter rolls did not

reflect their address changes. Doc. No. [532], ¶¶ 748–749. The Court concludes

that these two facts alone establish a genuine dispute of material fact as to the

accuracy of the voter rolls.

      As to the remainder of the mootness arguments, the Court finds that

Plaintiffs have not presented any affirmative evidence that their claims

concerning voter list security are not moot due to the enactment of HB 316 and

HB 392. In addition, the totality of the circumstances persuades this Court that


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there is no reasonable expectation that the State of Georgia will reenact the

challenged legislation or otherwise return to pre-HB 316 and pre-HB 392 law.

         In summary, the Court concludes that Plaintiffs’ voter list security claims

are moot and Plaintiffs’ voter list inaccuracy claims are not moot. See Powell, 395

U.S. at 497 (“Where one of the several issues presented becomes moot, the

remaining live issues supply the constitutional requirement of a case or

controversy.”).

                     iii.   Absentee Ballots

         Defendants assert that two of Plaintiffs’ claims about absentee ballots are

mooted by recent amendments to O.C.G.A. § 21-2-384 and State Election

Board Rules. Doc. No. [441-1], p. 28.27 More specifically, Defendants assert that

“Plaintiffs [sic] claims about voter birthdates resulting in rejection of absentee

ballots are moot because the [voter’s] date of birth is no longer required and thus

ballots cannot be rejected for that reason.” Id. Defendants also assert “that

Plaintiffs’ claims about prompt notification to voters when their absentee ballots




27 At the January 12, 2021 hearing, Defendants presented Demonstrative Exhibit 4
which included a chart that detailed the pre- and post-HB 316 changes to
O.C.G.A. § 21-2-384. The current version of the statute now “omits residential address
and birth year from the absentee voter’s oath.” Defs. Dem. Ex. 4.
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are rejected has been resolved by” a State Election Board Rule, Ga. Comp. R. &

Regs. R. 183-1-14-.13.28 Id.

         In opposition, Plaintiffs argue that “[a] streamlined oath envelope and

faster absentee ballot rejection notifications do not address in any way

Defendants’ failures to distribute absentee ballots in a timely fashion, to provide

accurate information about the status of voters’ ballots, or to resolve problems

voters experience when attempting to cancel their absentee ballots at the polls.”

Doc. No. [489], p. 25.29

         To the extent that Plaintiffs’ opposition arguments concern the failure to

train aspect of their case, the Court agrees that these training claims are not moot,

as there has been no change in the law concerning said claims. However,

Plaintiffs have not presented any affirmative evidence 30 that their claims



28 Said Rule provides in relevant part that registrars must notify voters of a rejected
absentee ballot no later than three business days after rejecting the ballot. Ga. Comp. R.
& Regs. R. 183-1-14-.13; see also Doc. No. [491], ¶ 114.
29 At oral argument, Defendants noted that Plaintiffs’ remaining arguments seem to be
claiming that Defendants are not following state law, which is barred by the Eleventh
Amendment. Doc. No. [607], Tr. 32:2–8. The Court defers ruling on Defendants’
Eleventh Amendment arguments. Said arguments will be addressed in the context of
the Court’s future ruling on the merits motion for summary judgment.
30Without more, Plaintiffs’ evidence (at Ex. 67, Doc. No. [507-5], p. 42) that the City of
Parrott, Georgia received two boxes of election supplies in 2019 with absentee ballots

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concerning voters’ dates of birth on absentee ballots and notification of absentee

ballot rejections are not moot due to the change in Georgia law.31 In addition, the

totality of the circumstances persuades this Court that there is no reasonable

expectation that the State of Georgia will reenact the challenged legislation or

otherwise return to its old law. Accordingly, the Court concludes that Plaintiffs’

claims concerning absentee ballots (dates of birth and rejection notification) are

moot.32

         C.    Political Question Doctrine

         Defendants argue that this Court lacks jurisdiction under the political

question doctrine. Doc. No. [441-1], p. 30. They argue that Plaintiffs’ claims are

nonjusticiable “because they require this Court to replace Georgia’s Election

Code with this Court’s judgment about the administration of elections . . . .” Id.




still bearing the date of birth line does not create a genuine dispute of material fact as to
mootness based on change in the law. As correctly noted by Defendants, it is only one
instance involving a city (Doc. No. [532], p. 594) and the above-stated Flanigan factors
look to consistency of the State’s conduct/commitment to the new law.
31Said claims are found in the Second Amended Complaint (Doc. No. [582]) at ¶¶ 137,
140, 141.
32Plaintiffs have amended their Complaint to remove their HAVA cause of action. Doc.
No. [582]. Accordingly, it is unnecessary for the Court to address the HAVA grounds
asserted in Defendants’ motion.
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They argue this matter would require the Court to address issues “reserved

expressly to the state legislatures—not the Courts.” Id. at 33. The Court disagrees

and finds the case law cited by Defendants is distinguishable because none of it

implicates individuals’ right to vote or alleges that a state’s election law or policy

has racially discriminatory effects.

             1.     Legal Standard

      Federal courts will generally refuse to hear a case if they find it presents a

“political question.” In this context, a political question is generally one that

either is best left to the political branches of government or that lacks judicially

manageable standards. As the Supreme Court explained in Rucho v. Common

Cause, ___ U.S. ___, 139 S. Ct. 2484 (2019):

             Chief Justice Marshall famously wrote that it is “the
             province and duty of the judicial department to say
             what the law is.” Sometimes, however, the law is that
             the judicial department has no business entertaining the
             claim of unlawfulness—because the question is
             entrusted to one of the political branches or involves no
             judicially enforceable rights. In such a case the claim is
             said to present a “political question” and to be
             nonjusticiable—outside the courts’ competence and
             therefore beyond the courts’ jurisdiction. Among the
             political question cases the Court has identified are
             those that lack judicially discoverable and manageable
             standards for resolving [them].


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Id. at 2494 (internal quotations and citations omitted). The political question

doctrine acts as a jurisdictional bar. See McMahon v. Presidential Airways, Inc.,

502 F.3d 1331, 1365 (11th Cir. 2007).

      In Baker v. Carr, 369 U.S. 186 (1962), the Supreme Court outlined a list of

factors to be used in determining whether a dispute raises a non-justiciable

political question. Under Baker, any one of the following removes an issue

beyond the scope of justiciability:

             (1) a textually demonstrable constitutional commitment
             of the issue to a coordinate political department; (2) a
             lack of judicially discoverable and manageable
             standards for resolving it; (3) the impossibility of
             deciding without an initial policy determination of a
             kind clearly for nonjudicial discretion; (4) the
             impossibility of a court’s undertaking independent
             resolution without expressing lack of the respect due
             coordinate branches of government; (5) an unusual
             need for unquestioning adherence to a political decision
             already made; or (6) the potentiality of embarrassment
             from multifarious pronouncements by various
             departments on one question.

Aktepe v. United States, 105 F.3d 1400, 1402–03 (11th Cir. 1997) (quoting Baker,

369 U.S. at 217).




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             2.    Analysis

      Defendants are correct that generally, matters related to the administration

of elections are reserved to state legislatures. However, state legislatures do not

have unreviewable discretion to pass election laws which violate federal statutes

or constitutional rights. The Court agrees that it is not the place of federal courts

to decide complex and subtle questions of election administration. See Doc. No.

[441-1], p. 34. However, federal courts are equipped and empowered to address

claims that individuals’ voting rights are being burdened.

      Defendants rely heavily on the recent decision in Jacobson to support their

argument that the political question doctrine bars this Court’s consideration of

this matter. As noted above, that case involved a challenge to Florida’s ballot

order law, which provides that candidates of the party that won the last

gubernatorial election shall appear first for each office on the ballot. Id. at 1241.

The Eleventh Circuit found the plaintiffs’ complaint presented a non-justiciable

political question because it boiled down to a complaint about unfair partisan

advantage. Id. at 1242. “No judicially discernable and manageable standards

exist to determine what constitutes a ‘fair’ allocation of the top ballot position,




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and picking among the competing visions of fairness ‘poses basic questions that

are political, not legal.’” Id. (quoting Rucho, 139 S. Ct. at 2500).

      Central to Jacobson’s political question doctrine holding, however, was the

fact that the plaintiffs’ complaint did “not allege any burden on individual voting

rights.” Id. at 1261 (emphasis in original). The case at bar is immediately

distinguishable. At bottom, Plaintiffs’ Complaint is about individual voting

rights and whether Georgia’s election laws and policies unduly burden

individuals’ right to vote. Clearly, and as the Jacobson court noted, there are

judicially   manageable     standards    for   evaluating    such      complaints—the

Anderson-Burdick framework exists for precisely this purpose. See id. at 1262

(“If the statute burdened voting or associational rights even slightly, we could

apply legal standards to determine whether the burden was unconstitutional.

Under Anderson and Burdick, we would weigh the burden imposed by the law

against the state interests justifying that burden.”). Indeed, this case is far more

comparable to the cases cited by the Jacobson court as ones that did not present

nonjusticiable political questions: claims that a statute does not make it more

difficult for individuals to vote, or to choose the candidate of their choice; claims

that a law limits a political party’s or candidate’s access to the ballot, which


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would interfere with voters’ ability to vote for and support that party or

candidate; claims that a law burdens the associational rights of political parties

by interfering with their ability to freely associate with voters and candidates of

their choosing; and claims that a law creates the risk that some votes will go

uncounted or be improperly counted. Id. at 1261–62 (collecting cases).

      Defendants also cite partisan gerrymandering cases to support their

argument. See Doc. No. [441-1], p. 33. Partisan gerrymandering cases are

nonjusticiable because they implicate “group political interests, not individual

legal rights.” Gill v. Whitford, __ U.S. ___, 138 S. Ct. 1916, 1933 (2018). However,

this case is more akin to racial gerrymandering cases that claim a burden on

individual voting rights and are clearly justiciable. Fundamentally, the one-

person, one-vote doctrine implicated in racial gerrymandering cases “requires

that each representative must be accountable to (approximately) the same

number of constituents.” Rucho, 139 S. Ct. at 2501. Thus, racial gerrymandering

cases implicate individual rights and are susceptible to judicially manageable

standards. Id. In contrast, partisan gerrymandering cases are “about group

political interests, not individual legal rights,” and thus implicate questions of

fairness which courts are not equipped or empowered to answer. Gill, 138 S. Ct.


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at 1933. Plaintiffs’ claims here implicate individual rights and are thus susceptible

to judicially manageable standards.

         The Court also rejects Defendants’ argument that this case is nonjusticiable

because the voting rights groups in this case may represent voters who are more

likely to support Democratic candidates. See Doc. No. [441-1], p. 31. All voting

rights cases implicate politics—but that does not automatically make them

nonjusticiable political questions. See Baker, 369 U.S. at 209 (“[T]he mere fact that

[a] suit seeks protection of a political right does not mean it presents a political

question.”). Otherwise, every time a case is brought to vindicate individual

voting rights, any showing that the plaintiffs were more likely to support

candidates of a certain party would render their claims nonjusticiable.33

               3.    Elections Clause

         Finally, the Court finds the Elections Clause does not bar its consideration

of Plaintiffs’ claims. The Elections Clause “assigns to state legislatures the power

to prescribe the ‘Times, Places and Manner of holding Elections” for Members of



33 This argument is especially troubling given that voting rights cases are frequently
brought by groups that seek to enfranchise minority voters. If this Court were to accept
Defendants’ argument here, such groups would be barred from bringing suit if they or
their members tend to prefer candidates of a certain party. Political question doctrine
does not go so far.
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Congress, while giving Congress the power to “make or alter’ any such

regulations.” Rucho, 139 S. Ct. at 2495. In Rucho, the Supreme Court rejected an

argument that the Elections Clause barred it from considering gerrymandering

cases. Id. (“Appellants suggest that, through the Elections Clause, the Framers

set aside electoral issues such as the one before us as questions that only Congress

can resolve. We do not agree.”) (internal citation omitted)). Defendants have cited

no cases that hold the Elections Clause prohibits federal courts from considering

cases where individual voting rights and federal constitutional rights are

implicated.

IV.      CONCLUSION

         Defendants’ Motion for Summary Judgment on Jurisdiction (Doc. No.

[441]) is GRANTED IN PART AND DENIED IN PART. The motion is granted

in part for lack of standing as to Plaintiffs’ polling place claims and for mootness

as to Plaintiffs’ voter list security claim and absentee ballot claims (based on

dating and notification issues). 34 The motion is denied as to the remaining




34 Ordinarily, the Court prefers to link its conclusions to causes of action, as delineated
in the Complaint; however, due to the nature of this case, it is impractical to follow this
preferred practice. To this regard, the Court’s analysis and conclusion address claims,
more so than causes of action.
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asserted grounds concerning standing, mootness, and the political-question

doctrine. The Court also recognizes that certain claims have been abandoned

through Plaintiffs’ filing of a Second Amended Complaint. Thus, for purposes of

perfecting the record, the Court provides the following full list of

allegations/claims that are no longer in this case: Help America Vote Act; Voting

Machines; Voter List Security; Use of Election Technology that is Vulnerable to

Hacking and Manipulation; Absentee Ballots (dating and notification issues);

Promotion of Moving and Closing Precincts and Polling Places; and Failure to

Provide Adequate Resources to Polling Places.35

                                16th
         IT IS SO ORDERED this ________ day of February, 2021.



                                         ________________________________
                                         HONORABLE STEVE C. JONES
                                         UNITED STATES DISTRICT JUDGE




35 A ruling on the outstanding merits motion for summary judgment (Doc. No. [450]),
motions to exclude expert testimony (Doc. Nos. [406], [448]), and renewed objection to
Plaintiffs’ Corrected Statement of Additional Material Facts (Doc. No. [610]) will follow
by separate orders.
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